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1    McGREGOR W. SCOTT
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4    Telephone: (916) 554-2793
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7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       )     No. 2:08-MJ-0093 GGH
12                                   )
                    Plaintiff,       )     STIPULATION AND PROTECTIVE ORDER
13                                   )     RE: DISSEMINATION OF DISCOVERY
          v.                         )     DOCUMENTS CONTAINING NAMES AND
14                                   )     PERSONAL IDENTIFYING INFORMATION
     MARIA SANTA,                    )
15   VIRGIL SANTA, and               )
     CANDIT SAVA, JR.,               )
16                                   )
                    Defendants.      )
17   _______________________________ )
18
19        IT IS HEREBY STIPULATED AND AGREED among the parties and their
20   respective counsel, Matthew Stegman, Assistant U.S. Attorney,
21   representing plaintiff United States of America, and Krista Hart,
22   attorney for defendant Maria Santa, John Balasz, attorney for
23   defendant Virgil Santa, and Jeffrey L. Staniels, attorney for
24   defendant Candit Sava, Jr., that the documents provided as
25   discovery in this case to defense counsel which contain names and
26   personal identification information such as addresses, social
27   security numbers, and bank account numbers of individuals other
28   than the defendants are subject to a Protective Order and that by

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1    signing this Stipulation and Protective Order counsel agrees not to
2    share any such documents that contain personal identification
3    information contained in these documents with anyone other than
4
     defense counsel and his designated defense investigators and
5
     support staff.   Any pages of discovery that contain no personal
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     identification information, or contain only victim names, but no
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     additional personal identifying information, are not subject to
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     this order.
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1       Defense counsel may permit the defendants to view the documents
2    in the presence of his or her attorney or defense investigators, so
3    long as defense counsel and the defense investigators do not allow
4
     the defendant to copy the personal identification information
5
     contained in the discovery, and defense counsel and the defense
6
     investigators do not allow the defendant to retain copies of these
7
     records.
8
     DATE: May 2, 2008              /s/ Krista Hart
9                                   KRISTA HART
                                    Attorney for MARIA SANTA
10
11
     DATE: May 2, 2008              /s/ John Balazs
12                                  JOHN BALAZS
                                    Attorney for VIRGIL SANTA
13
14
15   DATE: May 2, 2008              /s/ Jeffrey L. Staniels
                                    JEFFREY L. STANIELS
16                                  Assistant Federal Defender
                                    Attorney for CANDIT SAVA, JR.
17
18
     DATE: May 2, 2008              McGREGOR W. SCOTT
19
                                    United States Attorney
20
                              By:   /s/ Matthew Stegman
21                                  MATTHEW STEGMAN
                                    Assistant U.S. Attorney
22
23
24      IT IS SO ORDERED:

25   DATED:06/03/08                 /s/ Gregory G. Hollows
                                    U.S. Magistrate Judge
26
     santa.po
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